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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
                                     )
UNITED STATES OF AMERICA             )
                                     )  Case: 20-cr-000109 (ABJ)
              v.                     )
                                     )
MICAH AVERY                          )
                                     )
____________________________________)



                                   JOINT STATUS REPORT

       In response to the Court’s Minute Order of January 13, 2021, the United States and

counsel for Mr. Avery file a Joint Status Report. Counsel report that the defense has provided

the government with photos of the Defendant’s arms and right leg. The defense has also

informed the government that it will stipulate the authenticity, specifically, that the photos are of

the Defendant Micah Avery, as well as to the chain of custody of the photos. The parties thus

agree that the matter raised in ECF 26 is moot.
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                           Respectfully Submitted,

                           A. J. KRAMER
                           FEDERAL PUBLIC DEFENDER

                                  /s/
                           _____________________________
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                           Washington, D.C. 20004



                           MICHAEL SHERWIN
                           ACTING UNITED STATES ATTORNEY

                           /s/
                           _______________________________
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                           555 Fourth St. N.W.
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